                Case 3:20-cv-01161-MO       Document 19              Filed 07/22/20   Page 1 of 3




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                                  IN THE UNITED STATES DISTRICT COURT

                                      FOR THE DISTRICT OF OREGON



     ELLEN F. ROSENBLUM, Oregon Attorney                   Case No. 3:20-cv-01161-MO
     General,
                                                           PROOF OF SERVICE (US MARSHALS)
                     Plaintiff,

              v.

     JOHN DOES 1-10; the UNITED STATES
     DEPARTMENT OF HOMELAND
     SECURITY; UNITED STATES CUSTOMS
     AND BORDER PROTECTION; the UNITED
     STATES MARSHALS SERVICE and the
     FEDERAL PROTECTIVE SERVICE,

                     Defendants.




Page 1 -   PROOF OF SERVICE (US MARSHALS)
           10345159-v1/SP3/db5

                                                   Department of Justice
                                                  100 SW Market Street
                                                    Portland, OR 97201
                                           (971) 673-1880 / Fax: (971) 673-5000
                Case 3:20-cv-01161-MO        Document 19              Filed 07/22/20   Page 2 of 3




              Attached here to is the executed Proof of Service form showing service of the United

     States with respect to Defendant the United States Marshals Service, pursuant to Fed. R. Civ.

     Pro. 4(i)(2).

              DATED July 22 , 2020.

                                                          Respectfully submitted,

                                                          ELLEN F. ROSENBLUM
                                                          Attorney General



                                                              s/ Sheila H. Potter
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                                                          Of Attorneys for Plaintiff




Page 2 -   PROOF OF SERVICE (US MARSHALS)
           10345159-v1/SP3/db5

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                     Case 3:20-cv-01161-MO                   Document 19          Filed 07/22/20           Page 3 of 3
                        Case 3:20-cv-01161-MO                Document 3-1         Filed 07/20/20          Page 2 of 2


AO 440 (Rev. 06112) Summons in a Civil Action (Page 2)

Civil Action No.

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (/))

           This summons for (name ofindivid11al and title, ifany)           United States Marshals Service

was received by me on (date)              07120120


           0 I petsonally served the summons on the individual at (place)
                                                                                 on (date)                              ; or

           0 I   l~ft the   summons at the individual's residence or usual place of abode with (name)
                                                                  , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual's last known address; or

          ~ I served the summons on (name ofindividualJsarah Hengel at US Atty Office 1000 SW 3rd, Portland QR, who is
           designated by law to accept service of process on behalf of (name of01ganization)                United States
                                                                                                                        ; or

          0 I returned the summons unexecuted because                                                                                 ; or

          0 Other (specify):




          My fees are$                             for travel and $                  for services, for a total of$             0.00


          I declare under penalty of perjury that this information is tme.


             07/22/20
Date :


                                                                                 Conner Meling, Office Specialist 1

                                                                                         Printed name and title

                                                                                State of Oregon Department of Justice
                                                                                       100 SW Market Street
                                                                                        Portland OR 97201

                                                                                             Server's address


Additional information regarding attempted service, etc:




                                                                                                     Attachment 1, Page 1 of 1
